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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff,           )
                                                 )
vs.                                              )      Case No. CR-22-114-F
                                                 )
ROBERT LEE HARRISON, JR.,                        )
                                                 )
                            Defendant.           )

       DEFENDANT HARRISON’S SENTENCING MEMORANDUM
            AND MOTION FOR DOWNWARD VARIANCE

        Pursuant to 18 U.S.C. §3553(a) and United States v. Booker, 543 U.S. 220, 125 S.Ct.

738, 160 L.Ed.2d 621 (2005), the Defendant, Robert Harrison, through his attorney of

record, Craig M. Hoehns, submits this sentencing memorandum requesting a sentence

below the advisory guideline range. Under the circumstances of this case, such a

sentence would be sufficient, but no greater than necessary to comply with the statutory

directives set forth in 18 U.S.C. § 3553(a).

I. The Presentence Investigation Report

        Mr. Harrison was charged in a four (4) count indictment alleging: (1) Felon in

Possession of Ammunition; (2) Carjacking; (3) Kidnapping; and (4) Use of a Firearm

During and In Relation to a Crime of Violence. He was convicted on those counts at

jury trial.

        Following the jury trial, the final presentence investigation report was completed

on October 2, 2023. (Doc. 69). The presentence investigation report calculates the total
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offense level in this matter at 41 and the criminal history category as III, resulting in an

advisory guideline of 360 months of imprisonment. (Doc. 69, ¶136).

II. Relevant Offender Characteristics

       Mr. Harrison is now 50 years old. He is a hard worker, was a victim of child

abuse and is the son of a murdered father. (Doc. 69, ¶107). That trauma remains

unresolved. His trauma has made him a very protective and loving father who would

do anything to protect his children should he believe them to be in harm’s way. Mental

health and substance use have been issues in the past; nonetheless, he still has the

prospect of good, meaningful years in the future.

       The purposes of sentencing can be respected with a sentence below the

guidelines. It is well-documented and studied that the risk of recidivism reduces

significantly with age. (See, e.g., United States Sentencing Commission Report “The

Effects of Aging on Recidivism Among Federal Offenders, available at:

https://www.ussc.gov/research/research-reports/effects-aging-recidivism-among-

federal-offenders). A sentence below the guidelines could provide adequate deterrence

to criminal conduct and protect the public from further potential crimes by the

defendant.

III. Execution of Sentence

       The final presentence investigation report finds that conduct as alleged in

Oklahoma County, Oklahoma District Court case numbers CF-2021-2786, CF-2022-

60, and CF-2022-1392 are related to the instant case. (Doc. 69, ¶137). Those matters
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are still pending and have not been dismissed. United States Sentencing Guideline

§5G1.3(c) directs that if “a state term of imprisonment is anticipated to result from

another offense that is relevant conduct to the instant offense of conviction… the

sentence for the instant offense shall be imposed to run concurrently to the anticipated

term of imprisonment.” As such, the guidelines direct this Court to order the sentence

in this matter to run concurrent with the anticipated sentences in Oklahoma County,

Oklahoma District Court case numbers CF-2021-2786, CF-2022-60, and CF-2022-

1392. Defendant respectfully requests the Court follow this guideline and order this

matter to run concurrent with the anticipated sentences in those matters.

IV. Programs in the Bureau of Prisons

      To the extent that he is eligible, the Defendant requests this Court recommend

that he participate in the Residential Drug Abuse Program (RDAP) while in the

custody of the Bureau of Prisons.

V. Placement

      Mr. Harrison respectfully requests the Court to make a recommendation of

placement at FCI El Reno.

VI. Conclusion

      This Court can sentence Mr. Harrison below the guidelines while complying with

the purposes of sentencing. The public can be protected through the drug counseling

such RDAP, mental health counseling, and the re-entry procedures of the Bureau of
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Prisons. Counsel prays this Court impose a sentence below the advisory guidelines as it

will comply with the purposes of sentencing.

       In consideration of all the information the Court has before it in this

memorandum and the presentence investigation report, the defense respectfully

requests Your Honor impose a fair sentence below the advisory guidelines which will

accomplish the objectives and needs of sentencing.


                                                  Respectfully submitted,

                                                  s/ Craig M. Hoehns
                                                  Craig M. Hoehns
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                            CERTIFICATE OF SERVICE

       I hereby certify that on October 16, 2023, I electronically transmitted the

attached document to the Clerk of Court using the Electronic Case Filing System for

filing. Based on the records currently on file in this case, the Clerk of Court will transmit

a Notice of Electronic Filing to those registered participants of the ECF System.

                                                  s/ Craig M. Hoehns
                                                  Craig M. Hoehns
